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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


In the Matter of the Application of

KONOIKE CONSTRUCTION CO. LIMITED,

Plaintiff,
                                                           Civil Action No.
             v.                                                    1986
                                                           17-CV-_______

MINISTRY OF WORKS, TANZANIA, et al.,

Defendants.


                    DECLARATION OF JARED R. BUTCHER IN SUPPORT OF
                  PLAINTIFF’S PETITION TO CONFIRM ARBITRATION AWARD

I, Jared R. Butcher, hereby declare as follows:

        1. I am a member of the law firm Steptoe & Johnson LLP, counsel to Plaintiff Konoike

Construction Co. Limited (“Konoike” or “Plaintiff”) in the above-captioned action. I am

admitted to practice in the U.S. District Court for the District of Columbia.

        2.          I make this declaration to secure the entry of judgment in this District, confirming

an arbitral award (“Final Award”) rendered in favor of Plaintiff against Defendants the Ministry

of Works (Tanzania), the Tanzanian National Roads Agency (“TANROADS”), the Ministry of

Transport (Tanzania), and the Attorney General of the United Republic of Tanzania (“Tanzania

AG”) (collectively “Defendants”). The Final Award was issued following an arbitration

conducted in London, England under the Rules of Arbitration (the “ICC Rules”) of the

International Chamber of Commerce’s International Court of Arbitration (“ICC”) in ICC Case

No. 18806/ARP/MD/TO (the “Arbitration”).

        3.          Attached hereto are true and correct copies of the following exhibits, which are

submitted with Plaintiff’s petition to confirm the Final Award:
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          Exhibit 1: A certified copy of the Final Award, dated February 10, 2016;

          Exhibit 2: A certified copy of the Addendum to the Final Award, dated July 28,
                     2016;

          Exhibit 3: A copy of the General Conditions of Contract, which contains the parties’
                     agreement to arbitrate; and

          Exhibit 4: A certified copy of the Terms of Reference in the Arbitration, dated June
                     7, 2013.

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct. Executed on September 26, 2017.




                                                    /s/ Jared R. Butcher
                                                Jared R. Butcher




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